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                                                                                        United States Bankruptcy Court
                                                                                            Southern District of Texas

                                                                                               ENTERED
                                UNITED STATES BANKRUPTCY COURT                                 June 25, 2024
                                  SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                        HOUSTON DIVISION

In re:                                                   §
                                                         §   Chapter 7
ALEX JONES,                                              §
                                                         §   Case No. 22-33553
                  Debtor.                                §
                                                         §

         ORDER SETTING INITIAL HEARING ON TRUSTEE’S EMERGENCY MOTION TO
           (1) CLARIFY TRANSFER OF CONTROL AND SIGNING AUTHORITY WITH
          RESPECT TO DEBTOR’S BANK ACCOUNTS, (2) FOR AN ORDER EXTENDING
         AUTOMATIC STAY IN THE ALEX JONES CASE TO FREE SPEECH SYSTEMS LLC
                                 (Relates to Doc. No. 720)

                 The Court will conduct an initial hybrid hearing on this Motion on Thursday,
         June 27, 2024 at 9:00 a.m. (CT). Avi Moshenberg, counsel for the Texas Plaintiffs, and Counsel
         for the Chapter 7 Trustee must participate.



                August
                June     02, 2019
                     24, 2024
